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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
UNITED STATES OF AMERICA,
V. CASE NO. 8:1 1-cr-604-WFJ-UAM
JOSE RENTERIA CUERO

/

ORDER

THIS CAUSE came on for consideration upon the defendant’s
Motion for An Order Directing the Government to Procure/Produce
Petitioner’s Medical Records and Additional Medical in Support of Motion
for Sentence Reduction Under 18 U.S.C. §3582(c)(2) and 1 U.S.S.G. §
1B1.10 (Doc. 64) and Motion for An Order Directing the Government to
Procure/Produce Petitioner’s Post-Rehabilitations Documents in Support of
18 U.S.C. §3582(c)(2) and 1 U.S.S.G. § 1B1.10 (Doc. 65). ~

The defendant, appearing pro se, files the present motions in
connection with seeking a reduced sentence under 18 U.S.C. § 3582(c)(2)
and U.S.S.G. § 1B1.10, because of Amendment 821. Although
consideration of these motions was initially stayed (Doc. 74), these matters

are appropriately addressed upon receipt of the Amendment 821
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Memorandum from United States Probation. Thus, the motions will be
denied without prejudice.

It is, therefore, upon consideration,

ORDERED:

1. That the defendant’s Motion for An Order Directing the
Government to Procure/Produce Petitioner’s Medical Records and
Additional Medical in Support of Motion for Sentence Reduction Under 18
U.S.C. §3582(c)(2) and | U.S.S.G. § 1B1.10 (Doc. 64) be, and the same ‘is
hereby, DENIED without prejudice.

2. That the defendant’s Motion for An Order Directing the
Government to  Procure/Produce  Petitioner’s Post-Rehabilitations
Documents in Support of 18 U.S.C. §3582(c)(2) and 1 U.S.S.G. § 1B1.10

(Doc. 65).be, and the same is hereby, DENIED without prejudice.
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DONE and ORDERED at Tampa, Florida, this day of

September, 2024.

THOMAS G. WILSON
UNITED STATES MAGISTRATE JUDGE

